             Case: 1:06-cv-05158 Document #: 272 Filed: 08/31/11 Page 1 of 1 PageID #:5476
AO 450 (Rev. 01/09) Judgment in a Civil Action

                                                 UNITED STATES DISTRICT COURT
                                                                  for the
                                                   Northern District of Illinois
                      Beverly Robinson                               )
                             Plaintiff                               )
                           v.                                        )       Civil Action No.     06 C 5158
                  Morgan Stanley et al                               )
                            Defendant                                )

                                                  JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

     the plaintiff (name)                                                                                     recover from the

defendant (name)                                                                                                the amount of
                                                                            dollars ($             ), which includes prejudgment
interest at the rate of                   %, plus postjudgment interest at the rate of           %, along with costs.

     the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                    recover costs from the plaintiff (name)

X other:
               Judgment is entered in favor of defendants on plaintiff’s remaining claims which are Counts 1, 2, 6 and 7.




This action was (check one):

    tried by a jury with Judge                                                                     presiding, and the jury has
rendered a verdict.
   tried by Judge                                                                        without a jury and the above decision
was reached.

X decided by Judge              James F. Holderman                                            on a motion for summary
judgment.


Date:              Aug 31, 2011                                             Michael W. Dobbins, Clerk of Court

                                                                            /s Alyce Mobley Morris, Deputy Clerk
